

Tuttle v Keller (2024 NY Slip Op 03659)





Tuttle


2024 NY Slip Op 03659


Decided on July 3, 2024


Appellate Division, Fourth Department



Published by New York State Law Reporting Bureau pursuant to Judiciary Law § 431.


This opinion is uncorrected and subject to revision before publication in the Official Reports.



Decided on July 3, 2024
SUPREME COURT OF THE STATE OF NEW YORK
Appellate Division, Fourth Judicial Department

PRESENT: WHALEN, P.J., CURRAN, BANNISTER, DELCONTE, AND HANNAH, JJ.


519 CA 23-00801

[*1]PAUL TUTTLE, PLAINTIFF-RESPONDENT-APPELLANT,
vKIP KELLER, DEFENDANT-APPELLANT-RESPONDENT, ET AL., DEFENDANT.






SCHNITTER CICCARELLI MILLS PLLC, WILLIAMSVILLE (RYAN J. MILLS OF COUNSEL), FOR DEFENDANT-APPELLANT-RESPONDENT. 
MICHAEL STEINBERG, ROCHESTER, FOR PLAINTIFF-RESPONDENT-APPELLANT.


Appeal and cross-appeal from an order of the Supreme Court, Monroe County (Elena F. Cariola, J.), entered April 3, 2023. The order granted in part the motion of plaintiff for sanctions for spoliation of evidence. 
It is hereby ORDERED that the order so appealed from is unanimously affirmed without costs.
Entered: July 3, 2024
Ann Dillon Flynn
Clerk of the Court








